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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :       CRIMINAL NO. 1:20-cr-00278-TNM
                v.                              :
                                                :
KEITH BERMAN                                    :
                                                :
                        Defendant.              :

                     PROTECTIVE ORDER GOVERNING DISCOVERY

        To expedite the flow of discovery material between the parties and adequately protect

personal identity information entitled to be kept confidential, it is, pursuant to the Court’s authority

under Fed. R. Crim. P. 16(d)(1) and with the consent of the parties, ORDERED:

                                            All Materials

        1.      All materials provided by the United States in preparation for, or in connection

with, any stage of this case (collectively, “the materials”) are subject to this protective order (“the

Order”) and may be used by the defendant and defense counsel (defined as counsel of record in

this case) solely in connection with the defense of this case, and for no other purpose, and in

connection with no other proceeding, without further order of this Court.

        2.      The defendant and defense counsel shall not disclose the materials or their contents

directly or indirectly to any person or entity other than persons employed to assist in the defense,

persons who are interviewed as potential witnesses, counsel for potential witnesses, and other

persons to whom the Court may authorize disclosure (collectively, “authorized persons”).

Potential witnesses and their counsel may be shown copies of the materials as necessary to prepare

the defense, but they may not retain copies without prior permission of the Court.
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       3.      The defendant, defense counsel, and authorized persons shall not copy or reproduce

the materials except in order to provide copies of the materials for use in connection with this case

by defendant, defense counsel, and authorized persons.      Such copies and reproductions shall be

treated in the same manner as the original materials.        The defendant, defense counsel, and

authorized persons shall not disclose any notes or records of any kind that they make in relation to

the contents of the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.

       4.      Before providing materials to an authorized person, defense counsel must provide

the authorized person with a copy of this Order.

       5.      Upon conclusion of all stages of this case, all of the materials and all copies made

thereof shall be destroyed or returned to the United States, unless otherwise ordered by the Court.

The Court may require a certification as to the disposition of any such materials.

       6.      The restrictions set forth in this Order do not apply to documents that are or become

part of the public court record, including documents that have been received in evidence at other

trials, nor do the restrictions in this Order limit defense counsel in the use of the materials in

judicial proceedings in this case, except as described below.

                                       Sensitive Materials

       7.      The United States may produce materials containing personal identity information

as identified in Rule 49.1 of the Federal Rules of Criminal Procedure (“sensitive materials”) to

defense counsel, pursuant to the defendant’s discovery requests or otherwise.

       8.      No sensitive materials, or the information contained therein, may be disclosed to

any persons other than the defendant, defense counsel, persons employed to assist the defense, or

the person to whom the personal information solely and directly pertains, without prior notice to
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the United States and authorization from the Court.       Absent prior permission from the Court,

sensitive materials shall not be included in any public filing with the Court, and instead shall be

submitted under seal (except if the defendant chooses to include in a public document sensitive

information relating solely and directly to the defendant).

       9.       Sensitive materials must be maintained in the custody and control of defense

counsel. Defense counsel may show sensitive materials to the defendant as necessary to assist in

preparation of the defense, however, defense counsel may not provide a copy of sensitive materials

to the defendant.   Moreover, if defense counsel does show sensitive materials to the defendant,

defense counsel may not allow the defendant to write down any personal identity information as

identified in Rule 49.1 of the Federal Rules of Criminal Procedure that is contained in the sensitive

materials.   If the defendant takes notes regarding sensitive materials, defense counsel must

inspect those notes to ensure that the defendant has not copied down personal identity information

as identified in Rule 49.1 of the Federal Rules of Criminal Procedure.

       10.      The procedures for use of sensitive materials during any hearing or the trial of this

matter shall be determined by the parties and the Court in advance of the hearing or trial.      No

party shall disclose designated confidential documents in open court without prior consideration

by the Court.

       11.      The Clerk shall accept for filing under seal any filings so marked by the parties

pursuant to this Order.

                                        Scope of this Order

       12.      Modification Permitted.      Nothing in this Order shall prevent any party from

seeking modification of this Order or from objecting to discovery that it believes to be otherwise

improper.
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       13.     No Ruling on Discoverability or Admissibility.        This Order does not constitute

a ruling on the question of whether any particular material is properly discoverable or admissible

and does not constitute any ruling on any potential objection to the discoverability of any material.



       SO ORDERED this _____ day of January, 2021.



                                              _____________________________________
                                              HON. TREVOR N. MCFADDEN
                                              UNITED STATES DISTRICT JUDGE
